   Case: 1:20-cv-07115 Document #: 94 Filed: 08/23/21 Page 1 of 2 PageID #:1054




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

EDELSON PC,                                      Case No.: 20-cv-07115

                Plaintiff,
                                                 Hon. Matthew F. Kennelly
        v.

THOMAS GIRARDI, et al.

                Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s July 19, 2021 order, the parties propose the following schedule:

 Deadline to amend pleadings and add parties                     February 25, 2022

 Close of fact discovery                                         March 28, 2022

 Expert disclosure deadline (initial)                            April 22, 2022

 Expert disclosure deadline (rebuttal)                           May 27, 2022

 Close of expert discovery                                       July 11, 2022

 Dispositive motion deadline                                     July 25, 2022


                                            Respectfully submitted,

                                            EDELSON PC

Dated: August 23, 2021                      By: /s/ Alexander G. Tievsky
                                            One of Plaintiff’s Attorneys

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                                               1
   Case: 1:20-cv-07115 Document #: 94 Filed: 08/23/21 Page 2 of 2 PageID #:1055




                                     Respectfully submitted,

                                     DAVID LIRA

Dated: August 23, 2021               By: /s/ Edith R. Matthai
                                     One of His Attorneys

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                                     Respectfully submitted,

                                     KEITH GRIFFIN

Dated: August 23, 2021               By: /s/ Ryan Saba
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                                        2
